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            In the United States Court of Federal Claims

                                   No. 13-48 C

                             (Filed August 30, 2013)

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DYNAMICS RESEARCH        *
CORPORATION,             *
                         *
              Plaintiff, *
                         *
                         *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
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                                     ORDER

      On August 29, 2013, defendant filed an Unopposed Motion for an
Enlargement of Time of fifty-nine days, to and including November 1, 2013, to file a
response to the complaint. For good cause shown, it is hereby ORDERED that
defendant’s motion is GRANTED.


                                             /s/Lynn J. Bush
                                             LYNN J. BUSH
                                             Judge
